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                   UNITED STATES BANKRUPTCY COURT
                    NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

In re:
Prioria Robotics, Inc.,                             Case No. 18-10018-KKS
                                                    Chapter 7
      Debtor.
                                  /

Theresa M. Bender, Chapter 7 Trustee,

      Plaintiff,
v.                                                  Adv. Proc. No. _________

CONDOR AERIAL, LLC,

      Defendant.
                                  /

                    COMPLAINT FOR THE AVOIDANCE
                     OF PREFERENTIAL TRANSFERS

      Theresa M. Bender, the duly appointed Chapter 7 Trustee for the bankruptcy

estate of Prioria Robotics, Inc. (“Trustee”), pursuant to Section 547 of the

Bankruptcy Code, files this complaint and, in support thereof, states as follows:

      1.     This is an action by the Trustee to avoid preferential transfers made to

Condor Aerial, LLC (“Condor”), prior to the filing of the Debtor’s bankruptcy

petition.

      2.     On January 29, 2018, Debtor Prioria Robotics, Inc. filed for relief

pursuant to Chapter 11 of the Bankruptcy Code. (the “Petition Date”). Thereafter,
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on February 14, 2018, the Chapter 11 bankruptcy filing for Prioria Robotics, Inc.

was converted to a filing under Chapter 7 of the Bankruptcy Code. (Doc. 45).

       3.      Theresa M. Bender (“Trustee”) was subsequently appointed the

Chapter 7 Trustee for the Prioria Robotics, Inc. bankruptcy estate.

       4.      Condor is a Florida Limited Liability Company, with its principal place

of business in Monroe, North Carolina. Condor filed a secured claim in the Prioria

Robotics, Inc. bankruptcy proceeding. (Claim 35-2).

       5.      The Court has jurisdiction over this Complaint pursuant to 11

U.S.C.§§157 and 1334, and this matter is a core proceeding under 28 U.S.C.

§157(b)(2). Venue is proper pursuant to 28 U.S.C. §§1408 and 1409. The statutory

predicates for the relief sought herein are Sections 105(a), 547, and 550 of the

Bankruptcy Code.1

                                         Background

       6.      Condor and the Debtor were engaged in litigation beginning in 2015,

in the Circuit Court in the Eighth Judicial Circuit in and for Alachua County, Florida.

This state-court litigation resulted in two judgments in favor of Condor.




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 On January 28, 2020, the parties entered into a tolling agreement which extended the time for the
Trustee to bring this action until July 28, 2020. (Doc. 458)
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      7.      On October 3, 2017, the state court entered a judgment in favor of

Condor for $186,000 (the “First Judgment”). A copy of the First Judgment is

attached as Exhibit A.

      8.      A purportedly certified copy of the First Judgment was recorded in

Alachua County, Florida on October 10, 2017.

      9.      An electronic judgment lien certificate regarding the First Judgment

was filed with the Secretary of State on November 1, 2017 (the “First Judgment Lien

Certificate”). A copy of the First Judgment Lien Certificate is attached as Exhibit B.

      10.     On January 10, 2018, the state court entered a subsequent judgment in

favor of Condor for $1,338,515 (the “Second Judgment”). A copy of the Second

Judgment is attached as Exhibit C.

      11.     A purportedly certified copy of the Second Judgment was recorded in

Alachua County, Florida on January 16, 2018.

      12.     An electronic judgment lien certificate regarding the Second Judgment

was filed with the Secretary of State on January 17, 2018 (the “Second Judgment

Lien Certificate”). A copy of the Second Judgment Lien Certificate is attached as

Exhibit D.

      13.     Upon information and belief, the First Judgment was not recorded in a

properly certified form, and therefore no lien attached as result of its filing.
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Moreover, Prioria Robotics, Inc. did not own any real property in Alachua County

for the First Judgment or Second Judgment to create a lien.

      14.    As the Petition Date was January 29, 2018, the 90-day lookback period

allows the Trustee to avoid preferences occurring on or after October 31, 2017. Both

the First Judgment Lien Certificate and Second Judgment Lien Certificate were filed

after October 31, 2017.

      15.    To the extent a lien attached to the personal or real property of the

Debtor as a result of the above, each such attachment constitutes a Transfer.

      16.    Additionally, and alternatively, the Second Judgment Lien Certificate

was filed before the time for rehearing had lapsed, and is therefore a legal nullity

under section 55.202, Florida Statutes.

      17.    Additionally, and alternatively, to the extent any lien was created by the

filing of judgment lien certificates or the filing of certified judgments, such liens

attached during the avoidance period.

     Count I – Avoidance of Preferential Transfers under 11 U.S.C. §547

      18.    The Trustee reasserts the allegations of Paragraphs 1 through 17 as if

fully stated herein.

      19.    The Transfers to Defendant Condor constitute avoidable preferential

transfers pursuant to 11 U.S.C. §547.
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      20.     The Transfers to Defendant Condor were to or for the benefit of the

Defendant.

      21.     The Transfers to Defendant Condor were made for or on account of an

antecedent debt or debts owed by the Debtor to Defendant Condor before the

Transfers were made.

      22.     The Transfers to Defendant Condor were made while the Debtor was

insolvent.

      23.     The Transfers to Defendant Condor were made within the ninety days

preceding the Petition Date.

      24.     The Transfers enabled Defendant Condor to receive more than it would

have received if: (i) this case were a case under Chapter 7 of the Bankruptcy Code;

(ii) if the Transfers had not been made; and (iii) if the Defendant received payment

on the subject antecedent debt(s) in accordance with applicable provisions of the

Bankruptcy Code.

      25.     Based upon the foregoing, the Transfers to Defendant constitute

avoidable preferential transfers pursuant to 11 U.S.C. §547.

      WHEREFORE, the Theresa M. Bender, Chapter 7 Trustee, respectfully

requests:

      (a) that the Court enter a judgment avoiding the Transfers to Defendant

      Condor as preferential pursuant to 11 U.S.C. §547;
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         (b) disallow Defendant Condor’s Claim to the extent it is secured by the above

         Transfers or purported Transfers;

         (c) judgment be rendered in favor of the Trustee and against Defendant

         Condor for reasonable attorneys' fees and costs incurred in prosecuting the

         causes of action herein;

         (d) that all costs of this action be assessed against Defendant Condor; and

         (e) for such other and further relief as is just and proper.

     Count II – Declaratory Judgment to Determine the Validity, Extent, and
     Priority of Defendant Condor’s Liens, Claims, and Encumbrances on the
                               Debtor’s Property

         26.     The Trustee reasserts the allegations of Paragraphs 1 through 17 as if

fully stated herein.

         27.     This is an action for equitable and declaratory relief brought pursuant

to 7001(2), Fed. R. Civ. P., and 11 U.S.C. §363(p)(2) to determine the validity,

extent, and priority of Defendant Condor’s liens, claims, and encumbrances, and

interests in Prioria Robotics, Inc.’s property.

         28.     The Trustee objects to the secured nature of Defendant Condor’s Claim,

on the grounds that, pursuant to 11 U.S.C. §§502(d) & 547, Defendant Condor’s

Claim should be allowed only as unsecured creditor of the Debtor’s Estate.2




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    The Trustee reserves the right to object to Defendant Condor’s Claim on any other grounds.
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      29.    Additionally, and alternatively, no lien attached pursuant to the filings

described above, and Condor’s claim is therefore not secured regarding that filing.

      WHEREFORE, the Theresa M. Bender, Chapter 7 Trustee, respectfully

requests:

      (a) that the Court enter a declaratory judgment that determines the validity,

extent, and priority of Defendant Condor’s claim of lien on Prioria Robotics, Inc.’s

property;

      (b) disallow Defendant Condor’s Claim to the extent it failed to comply with

the applicable state law requirements for perfecting a judgment lien;

      (c) judgment be rendered in favor of the Trustee and against Defendant

Condor for reasonable attorneys' fees and costs incurred in prosecuting the causes of

action herein;

      (d) that all costs of this action be assessed against Defendant Condor; and

      (e) for such other and further relief as is just and proper.

      RESPECTFULLY SUBMITTED this 27th day of July 2020.

                                        /s/ Kevin A. Forsthoefel
                                        Kevin A. Forsthoefel
                                        Florida Bar No. 92382
                                        Ausley McMullen
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                                                       EXHIBIT B
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                                                         EXHIBIT C
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                                                      EXHIBIT D
